     Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 1 of 45 PageID 5135




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


      UNITED STATES OF AMERICA,                   Case No. 3:20-cr-86(S1)-TJC-JBT

            Plaintiff,         ☐
            Government         ☒                  ☐ Evidentiary
                                                  ☒ Trial
                                                  ☐ Other
      v.

      JORGE PEREZ, et al.

            Defendants         ☐

                                    EXHIBIT LIST
Exhibit       Date        Date
                                            Witness                Description of Exhibit
Number      Identified   Admitted
1A                                  Kelly Tobin (UHC)       CD with Campbellton Graceville
                                    Dr. Peter Kongstvedt    Hospital Lab Claim Detail to
                                    Dr. Corey Waller        UHC (DOJCGH_0001032658)
                                    Missy Parks
1A(1)                               Kelly Tobin (UHC)       Example Claim from CD with
                                    Missy Parks             Campbellton Graceville Lab
                                                            Claim to UHC
1B                                  Kelly Tobin (UHC)       CD with Regional General
                                    Dr. Peter Kongstvedt    Hospital Lab Claim Detail to
                                    Dr. Corey Waller        UHC (DOJCGH_0001031197)
                                    Missy Parks
1B(1)                               Kelly Tobin (UHC)       Example Claim from CD with
                                    Missy Parks             Regional General Hospital Lab
                                                            Claim to UHC
1C                                  Kelly Tobin (UHC)       CD with Chestatee Regional
                                    Dr. Peter Kongstvedt    Hospital Lab Claim Detail to
                                    Dr. Corey Waller        UHC (DOJCGH_0001031201)
                                    Missy Parks
1C(1)                               Kelly Tobin (UHC)       Example Claim from CD with
                                    Missy Parks             Chestatee Regional Hospital Lab
                                                            Claim to UHC
1D                                  Kelly Tobin (UHC)       CD with Putnam County
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness              Description of Exhibit
Number      Identified   Admitted
                                    Dr. Peter Kongstvedt   Memorial Hospital Lab Claim
                                    Dr. Corey Waller       Detail to UHC
                                    Missy Parks            (DOJCGH_0001031493)
1D(1)                               Kelly Tobin (UHC)      Example Claim from CD with
                                    Missy Parks            Putnam County Memorial
                                                           Hospital Lab Claim to UHC
1E                                  Howard Rochay          CD with Campbellton Graceville
                                    (Florida Blue)         Hospital Lab Claim Detail to
                                    Dr. Richard Peterson   Florida Blue
                                    (Florida Blue)         (DOJCGH_0001657772)
                                    Dr. Peter Kongstvedt
                                    Dr. Corey Waller
                                    Missy Parks
1E(1)                               Howard Rochay          Example Claim from CD with
                                    (Florida Blue)         Campbellton Graceville Hospital
                                    Dr. Richard Peterson   Lab Claim Detail to Florida Blue
                                    (Florida Blue)
                                    Missy Parks
1F                                  Howard Rochay          CD with Regional General
                                    (Florida Blue)         Hospital Lab Claim Detail to
                                    Dr. Richard Peterson   Florida Blue
                                    (Florida Blue)         (DOJCGH_0001657773)
                                    Dr. Peter Kongstvedt
                                    Dr. Corey Waller
                                    Missy Parks
1F(1)                               Howard Rochay          Example Claim from CD with
                                    (Florida Blue)         Regional General Hospital Lab
                                    Dr. Richard Peterson   Claim Detail to Florida Blue
                                    (Florida Blue)
                                    Missy Parks
1G                                  Howard Rochay          CD with Spreadsheets of Florida
                                    (Florida Blue)         Blue claims for Florida Blue
                                    Dr. Peter Kongstvedt   Members billed through both
                                    Dr. Corey Waller       Campbellton-Graceville Hospital
                                    Missy Parks            and Regional General Hospital
                                                           (DOJCGH_0001143642 –
                                                           0001143644)
1G(1)                               Missy Parks            Summary Chart showing Florida
                                                           Blue claims for Florida Blue
                                                           Members billed through
                                                           Campbellton-Graceville Hospital
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness                 Description of Exhibit
Number      Identified   Admitted
                                                              and Regional General Hospital
1H                                  Wesley Foister            CD with Chestatee Regional
                                    (Anthem)                  Hospital Lab Claim Detail to
                                    Carey Bobbit (Anthem-     BCBS Georgia (Anthem)
                                    RightChoice)              (DOJCGH_0001027353)
                                    Dr. Peter Kongstvedt
                                    Dr. Corey Waller
                                    Missy Parks
1H(1)                               Wesley Foister            Example Claim from CD with
                                    (Anthem)                  Chestatee Regional Hospital Lab
                                    Carey Bobbit (Anthem-     Claim Detail to BCBS Georgia
                                    RightChoice)              (Anthem)
                                    Missy Parks
1I                                  Wesley Foister            CD with Putnam County
                                    (Anthem)                  Memorial Hospital Lab Claim
                                    Carey Bobbitt (Anthem-    Detail to BCBS Missouri
                                    RightChoice)              (Anthem-RightChoice)
                                    Dr. Peter Kongstvedt      (DOJCGH_0001030969)
                                    Dr. Corey Waller
                                    Missy Parks
1I(1)                               Wesley Foister          Example Claim from CD with
                                    (Anthem)                Putnam County Memorial
                                    Carey Bobbitt (Anthem-  Hospital Lab Claim Detail to
                                    RightChoice)            BCBS Missouri (Anthem-
                                    Missy Parks             RightChoice)
1J                                  Theresa Jackson (Aetna) CD with Campbellton Graceville
                                    Dr. Peter Kongstvedt    Hospital (CGH) Lab Claim
                                    Dr. Corey Waller        Detail to Aetna
                                    Missy Parks             (DOJCGH_0001033547)
1J(1)                               Theresa Jackson (Aetna) Example Claim from CD with
                                    Missy Parks             Campbellton Graceville Hospital
                                                            Lab Claim Detail to Aetna
1K                                  Theresa Jackson (Aetna) CD with Regional General
                                    Dr. Peter Kongstvedt    Hospital (RGH) Lab Claim
                                    Dr. Corey Waller        Detail to Aetna
                                    Missy Parks             (DOJCGH_0001033551)
1K(1)                               Theresa Jackson (Aetna) Example Claim from CD with
                                    Missy Parks             Regional General Hospital
                                                            (RGH) Lab Claim Detail to
                                                            Aetna
1L                                  Theresa Jackson (Aetna) CD with Chestatee Regional
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness                 Description of Exhibit
Number      Identified   Admitted
                                    Dr. Peter Kongstvedt      Hospital Lab Claim Detail to
                                    Dr. Corey Waller          Aetna (DOJCGH_0001033548)
                                    Missy Parks
1L(1)                               Theresa Jackson (Aetna)   Example Claim from CD with
                                    Missy Parks               Chestatee Regional Hospital Lab
                                                              Claim Detail to Aetna
1M                                  Theresa Jackson (Aetna)   CD with Putnam County
                                    Dr. Peter Kongstvedt      Memorial Hospital Lab Claim
                                    Dr. Corey Waller          Detail to Aetna
                                    Missy Parks               (DOJCGH_0001033550)
1M(1)                               Theresa Jackson (Aetna)   Example Claim from CD with
                                    Missy Parks               Putnam County Memorial
                                                              Hospital Lab Claim Detail to
                                                              Aetna
1N                                  Kelly Tobin (UHC)         CD with Reliance Labs Claim
                                    Missy Parks               Detail to UHC (Bates
                                                              DOJCGH_0001030975 -
                                                              0001030977)
1O                                  Kelly Tobin (UHC)         CD with LifeBrite Labs Claim
                                    Missy Parks               Detail to UHC
                                                              (DOJCGH_0001030972 -
                                                              0001030974)
1O(1)                               Kelly Tobin (UHC)         Example Claim from CD with
                                    Missy Parks               LifeBrite Labs Claim Detail to
                                                              UHC
1P                                  Kelly Tobin (UHC)         CD with Pinnacle Labs Claim
                                    Missy Parks               Detail to UHC
                                                              (DOJCGH_0001537449)
1P(1)                               Kelly Tobin (UHC)         Example Claim from CD with
                                    Missy Parks               Pinnacle Labs Claim Detail to
                                                              UHC
1Q                                  Theresa Jackson (Aetna)   CD with Reliance Labs Claim
                                    Missy Parks               Detail to Aetna
                                                              (DOJCGH_0001543499 -
                                                              0001543500)
1R                                  Theresa Jackson (Aetna)   CD with LifeBrite Labs Claim
                                    Missy Parks               Detail to Aetna
                                                              (DOJCGH_0001543501 -
                                                              0001543502)
1S                                  Theresa Jackson (Aetna)   CD with Pinnacle Labs Claim
                                    Missy Parks               Detail to Aetna
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness                Description of Exhibit
Number      Identified   Admitted
                                                             (DOJCGH_0001543497 -
                                                             0001543498)
1T                                  Howard Rochay            CD with Reliance Labs Claim
                                    (Florida Blue)           Detail to Florida Blue
                                    Missy Parks              (DOJCGH_0001657770)
1T(1)                               Howard Rochay            Example Claim from CD with
                                    (Florida Blue)           Reliance Labs Claim Detail to
                                    Missy Parks              Florida Blue
1U                                  Howard Rochay            CD with LifeBrite Labs Claim
                                    (Florida Blue)           Detail to Florida Blue
                                    Missy Parks              (DOJCGH_0001657769)
1V                                  Howard Rochay            CD with Pinnacle Labs Claim
                                    (Florida Blue)           Detail to Florida Blue
                                    Missy Parks              (DOJCGH_0001657771)
1W                                  Wesley Foister           CD with Reliance Labs, LifeBrite
                                    (Anthem)                 Labs, and Pinnacle Labs Claim
                                    Carey Bobbitt (Anthem)   Detail to BCBS Georgia
                                    Missy Parks              (Anthem)
                                                             (DOJCGH_0001661241)
1X                                  Wesley Foister           CD with Reliance Labs, LifeBrite
                                    (Anthem)                 Labs, and Pinnacle Labs Claim
                                    Carey Bobbitt (Anthem)   Detail to BCBS Missouri
                                    Missy Parks              (Anthem – RightChoice)
                                                             (DOJCGH_0001669670)
1X(2)                               Carey Bobbitt (Anthem)   Example Claim from CD with
                                    Missy Parks              LifeBrite Labs Claim Detail to
                                                             BCBS Missouri (Anthem –
                                                             RightChoice)
1Y                                  Kelly Tobin (UHC)        CGH – UHC Facility
                                                             Participation Agreement dated
                                                             11/15/05 and Appendices
                                                             DOJCGH_0001284798 –
                                                             0001284810,
                                                             DOJCGH_0001284812-
                                                             0001284816
1Z                                  Kelly Tobin (UHC)        RGH – UHC Facility
                                                             Participation Agreement dated on
                                                             or about 8/1/12 and Appendices
                                                             Unredacted version
                                                             DOJCGH_0001285203-
                                                             0001285224; 0001285177-
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness                 Description of Exhibit
Number      Identified   Admitted
                                                              0001285202; 0001285150-
                                                              0001285175
1AA                                 Kelly Tobin (UHC)         Chestatee – UHC Facility
                                                              Participation Agreement dated on
                                                              or about 9/15/05 and
                                                              Appendices
                                                              DOJCGH_0001284930-
                                                              0001284963; 0001284896-
                                                              0001284929
1BB                                 Kelly Tobin (UHC)         Putnam – UHC Facility
                                                              Participation Agreement dated on
                                                              or about 10/1/06 and
                                                              Appendices
                                                              DOJCGH_0001285134-
                                                              0001285149; 0001285021-
                                                              0001285031; 0001285099-
                                                              0001285103
1CC                                 Theresa Jackson (Aetna)   CGH – Aetna Hospital Services
                                                              Agreement dated 4/1/10
                                                              (DOJCGH_0001032977 –
                                                              0001033041)
1DD                                 Theresa Jackson (Aetna)   RGH – Aetna Hospital Services
                                                              Agreement dated 5/1/14 and
                                                              Amendment
                                                              (DOJCGH_0001033416 –
                                                              0001033546)
1EE                                 Theresa Jackson (Aetna)   Chestatee – Aetna Hospital
                                                              Services Agreement between
                                                              Durall Capital Holdings, LLC,
                                                              dba Chestatee Regional Hospital
                                                              and Aetna dated 8/17/16
                                                              (DOJCGH_0001033042 –
                                                              0001033078) (original)
1FF                                 Theresa Jackson (Aetna)   Chestatee – Aetna Amended
                                                              Hospital Services Agreement
                                                              between Durall Capital Holdings,
                                                              LLC, dba Chestatee Regional
                                                              Hospital and Aetna dated
                                                              12/15/17
                                                              (DOJCGH_0001033079 –
                                                              0001033188)
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       EXHIBIT LIST - Continuation Sheet

Exhibit        Date        Date
                                             Witness                Description of Exhibit
Number       Identified   Admitted
1GG                                  Theresa Jackson (Aetna) Putnam – Aetna Managed Care
                                                             Agreement between Putnam
                                                             Hospital and Aetna dated
                                                             10/15/02
                                                             (DOJCGH_0001033349 –
                                                             0001033370) (original)
1HH                                  Theresa Jackson (Aetna) Putnam – Aetna Amendment to
                                                             Managed Care Agreement
                                                             between Putnam Hospital and
                                                             Aetna dated 6/1/09
                                                             (DOJCGH_0001033378 –
                                                             0001033381)
1II                                  Howard Rochay           CGH – Florida Blue contract
                                     (Florida Blue)          dated 10/1/89 – Blue Cross Blue
                                                             Shield of Florida Preferred
                                                             Patient Care Hospital Agreement
                                                             (DOJCGH_0001026821 –
                                                             0001027135)
1JJ                                  Howard Rochay           RGH – Florida Blue contract
                                     (Florida Blue)          (MDFL_0362136 – 0362339)
1KK                                  Kelley Grayson          Chestatee – BCBS Georgia
                                     (Anthem)                (Anthem) – HMO Georgia, Inc.
                                                             Hospital Agreement dated
                                                             5/18/98 and Amendments
                                                             (DOJCGH_0001027139 –
                                                             0001027249)
1LL                                  Kelley Grayson          Putnam – BCBS Missouri
                                     (Anthem-RightChoice)    (Anthem – RightChoice)
                                                             Participating Hospital Agreement
                                                             dated 7/1/08
                                                             (DOJCGH_0001030840 –
                                                             0001030856)
2                                    Missy Parks             Florida Blue Claims Data
                                                             Spreadsheet for A.S. for claim
                                                             received on December 17, 2015
3                                    Missy Parks             Florida Blue Claims Data
                                                             Spreadsheet for M.J. for claim
                                                             received on December 17, 2015
4                                    Missy Parks             Florida Blue Claims Data
                                                             Spreadsheet for H.F. for claim
                                                             received on December 21, 2015
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness             Description of Exhibit
Number      Identified   Admitted
5                                   Missy Parks          Florida Blue Claims Data
                                                         Spreadsheet for J.R. for claim
                                                         received on March 9, 2016
6                                   Missy Parks          Florida Blue Claims Data
                                                         Spreadsheet for S.D. for claim
                                                         received on May 10, 2016
7A                                  Kyle Marcotte        Articles of Incorporation for
                                                         Beaches Recovery Services, LLC
                                                         (MDFL-0360874 – 0360875)
7B                                  Kyle Marcotte        Articles of Incorporation for
                                                         North Florida Labs, LLC (Bates
                                                         MDFL-0360876 – 0360877)
7C                                  Kyle Marcotte        Articles of Incorporation for KTL
                                                         Labs, LLC (Bates MDFL-
                                                         0360878 – 0360879)
7D                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for
                                                         7/22/16
                                                         (DOJCGH_0001033705,
                                                         DOJCGH_0001033790)
7E                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for
                                                         7/29/16
                                                         (DOJCGH_0001033707,
                                                         DOJCGH_0001033791)
7F                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for 8/5/16
                                                         (DOJCGH_0001033709,
                                                         DOJCGH_0001033789)
7G                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for
                                                         8/11/16
                                                         (DOJCGH_0001033711,
                                                         DOJCGH_0001033768)
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness              Description of Exhibit
Number      Identified   Admitted
7H                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for
                                                         8/18/16
                                                         (DOJCGH_0001033714,
                                                         DOJCGH_0001033769)
7I                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for
                                                         8/25/16
                                                         (DOJCGH_0001033717,
                                                         DOJCGH_0001033772)
7J                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for 9/1/16
                                                         (DOJCGH_0001033720,
                                                         DOJCGH_0001033773)
7K                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for 9/8/16
                                                         (DOJCGH_0001033722,
                                                         DOJCGH_0001033774)
7L                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for
                                                         9/23/16
                                                         (DOJCGH_0001033726,
                                                         DOJCGH_0001033792)
7M                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for
                                                         10/7/16
                                                         (DOJCGH_0001033730,
                                                         DOJCGH_0001033786)
7N                                  Kyle Marcotte        Email from Aaron Durall to Kyle
                                                         Marcotte with attachment
                                                         showing commissions for 3/3/17
                                                         (DOJCGH_0001033745,
                                                         DOJCGH_0001033778)
     Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 10 of 45 PageID 5144

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness              Description of Exhibit
Number      Identified   Admitted
7O                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions for 4/7/17
                                                          (DOJCGH_0001033747,
                                                          DOJCGH_0001033776)
7P                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions for 5/2/17
                                                          (DOJCGH_0001033749,
                                                          DOJCGH_0001033785)
7Q                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions for
                                                          5/31/17
                                                          (DOJCGH_0001033751,
                                                          DOJCGH_0001033787)
7R                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions for
                                                          7/15/17
                                                          (DOJCGH_0001033754,
                                                          DOJCGH_0001033781)
7S                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions for 8/2/17
                                                          (DOJCGH_0001033756,
                                                          DOJCGH_0001033782)
7T                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions for 9/6/17
                                                          (DOJCGH_0001033758,
                                                          DOJCGH_0001033783)
7U                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions for
                                                          10/4/17
                                                          (DOJCGH_0001033764,
                                                          DOJCGH_0001033780)
     Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 11 of 45 PageID 5145

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness              Description of Exhibit
Number      Identified   Admitted
7V                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions for
                                                          11/1/17
                                                          (DOJCGH_0001034056,
                                                          DOJCGH_0001034131)
7W                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions by month
                                                          from July 2017 to 2/18/18
                                                          (DOJCGH_0001034064,
                                                          DOJCGH_0001034129)
7X                                  Kyle Marcotte         Plea Agreement – Kyle Marcotte
7Y                                  Kyle Marcotte         Agreement between Reliance and
                                                          KTL Labs
                                                          (DOJCGH_0001278298-307)
7Z                                  Kyle Marcotte         Agreement between Reliance and
                                                          North Florida Labs
                                                          (DOJCGH_0001278325-334)
7AA                                 FBI Forensic          Summary Chart showing
                                    Accountant Kimberly   Proceeds from CGH, RGH, and
                                    Henderson             Chestatee Hospitals to Reliance
                                                          Labs, then to Marketer Kyle
                                                          Marcotte via KTL Labs and
                                                          North Florida Labs, and to
                                                          Billing Companies Empower and
                                                          Medivance
8A                                  FBI Forensic          Composite of five checks from
                                    Accountant Kimberly   Gateway Bank account for
                                    Henderson             Hospital Laboratory Partners
                                                          (ending 4841) to Pinnacle Labs
                                                          signed by Sean Porter (MDFL-
                                                          0201646, 0201645, 0201569,
                                                          0201612, and 0201610)
8B                                  FBI Forensic          Updated signature card for
                                    Accountant Kimberly   Gateway Bank x4841 account
                                    Henderson             signed by Sean Porter, dated
                                                          12/8/16
                                                          (DOJCGH_0001672788)
8C                                  FBI Forensic          Summary Chart showing
                                    Accountant Kimberly   Proceeds from CGH, RGH, and
     Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 12 of 45 PageID 5146

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness               Description of Exhibit
Number      Identified   Admitted
                                    Henderson             Putnam Hospitals to Hospital
                                                          Laboratory Partners, Pinnacle
                                                          Labs, LifeBrite Labs, and Billing
                                                          Company Empower
8D                                  FBI Forensic          Summary Chart showing
                                    Accountant Kimberly   Disbursements from Hospital
                                    Henderson             Laboratory Partners to Jim Porter
                                                          and Sean Porter
8E                                  FBI Forensic          Summary Chart showing net
                                    Accountant Kimberly   financial transactions involving
                                    Henderson             Putnam Hospital, Hospital
                                                          Laboratory Partners and entities
                                                          associated with Sean Porter
9A                                  FBI Forensic          November 2016 BB&T bank
                                    Accountant Kimberly   statement (ending 5818) for
                                    Henderson             Reliance Laboratory Testing, Inc.
                                                          showing wire transfer of $515,095
                                                          on 11/30/16 (MDFL-0201050 –
                                                          0201057)
9B                                  FBI Forensic          November 2016 JP Morgan
                                    Accountant Kimberly   Chase bank statement (ending
                                    Henderson             1275) for North Florida Labs,
                                                          LLC showing incoming wire
                                                          transfer of $515,095 on 11/30/16
                                                          (MDFL-0239932 – 0239935)
9C                                  FBI Forensic          Wire Transfer of $515,095 from
                                    Accountant Kimberly   BB&T bank (ending 5818) for
                                    Henderson             Reliance laboratory Testing, Inc.
                                                          to JP Morgan Chase bank
                                                          (ending 1275) for North Florida
                                                          Labs, LLC (MDFL-0315222)
9D                                  Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte on 11/30/16 regarding
                                                          breakdown of commissions with
                                                          spreadsheet dated 12/1/16
                                                          (DOJCGH_0001033732,
                                                          DOJCGH_0001033770)
  Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 13 of 45 PageID 5147

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness               Description of Exhibit
Number      Identified   Admitted
10A                                 FBI Forensic          February 2017 BB&T bank
                                    Accountant Kimberly   statement (ending 5818) for
                                    Henderson             Reliance Laboratory Testing, Inc.
                                                          showing wire transfer of
                                                          $1,027,017 on 2/2/17 (MDFL-
                                                          0201074 – 0201078)
10B                                 FBI Forensic          February 2017 JP Morgan Chase
                                    Accountant Kimberly   bank statement (ending 2011) for
                                    Henderson             KTL Labs, LLC showing
                                                          incoming wire transfer of
                                                          $1,027,017 on 2/2/17 (MDFL-
                                                          0239668 – 0239673)
10C                                 FBI Forensic          Wire Transfer of $1,027,017 from
                                    Accountant Kimberly   BB&T bank (ending 5818) for
                                    Henderson             Reliance laboratory Testing, Inc.
                                                          to JP Morgan Chase bank
                                                          (ending 2011) for KTL Labs,
                                                          LLC (MDFL-0315258)
10D                                 Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte on 2/1/17 regarding
                                                          breakdown of commissions
                                                          (DOJCGH_0001033741,
                                                          DOJCGH_0001033771)
10E                                 FBI Forensic          Summary Chart illustrating
                                    Accountant Kimberly   financial transactions involving
                                    Henderson             Reliance Labs, Aaron Durall,
                                                          North Florida Labs, KTL Labs,
                                                          and Kyle Marcotte on 11/30/16
                                                          ($515,095) and 2/2/17
                                                          ($1,027,017) for Counts Nine and
                                                          Ten
11A                                 FBI Forensic          January 2017 Gateway Bank of
                                    Accountant Kimberly   Central Florida statement (ending
                                    Henderson             4841) for Hospital Laboratory
                                                          Partners showing transfer of
                                                          $500,000 and check no. 1035
                                                          dated 1/10/17 (MDFL-0201318
                                                          – 0201320, MDFL-0201385)
11B                                 FBI Forensic          January 2017 TD Bank statement
                                    Accountant Kimberly   (ending 9018) for Empower HIS,
                                    Henderson             LLC showing deposit of check
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness               Description of Exhibit
Number      Identified   Admitted
                                                          no. 1035 dated 1/10/17 for
                                                          $500,000 and deposit slip
                                                          (MDFL-0255010 – 0255027,
                                                          MDFL-0255683 - 0255684)
12A                                 FBI Forensic          January 2017 Gateway Bank of
                                    Accountant Kimberly   Central Florida statement (ending
                                    Henderson             4841) for Hospital Laboratory
                                                          Partners showing transfer out of
                                                          $372,501 and check no. 1040
                                                          dated 1/10/17 (MDFL-0201318
                                                          – 0201320, MDFL-0201389)
12B                                 FBI Forensic          January 2017 Suntrust statement
                                    Accountant Kimberly   (ending 9949) for RAJ
                                    Henderson             Enterprises of CFL LLC
                                                          (Pinnacle Labs) showing deposit
                                                          of check no. 1040 dated 1/10/17
                                                          for $372,501 and deposit slip
                                                          (DOJCGH_0001284640,
                                                          DOJCGH_0001284208 -
                                                          0001284212)
13A                                 FBI Forensic          Putnam County State Bank
                                    Accountant Kimberly   January 2017 statement (account
                                    Henderson             ending 9924) for Putnam County
                                                          Memorial Hospital showing
                                                          transfer from account on 1/13/17
                                                          of $2,208,799.41 (MDFL-
                                                          0253223 – 0253247)
13B                                 FBI Forensic          Spreadsheet containing outgoing
                                    Accountant            wire transfers from Putnam
                                    Kimberly Henderson    County Memorial Hospital to
                                                          various entities, including the
                                                          1/13/17 wire transfer of
                                                          $2,208,799.41 to the Gateway
                                                          Bank of Central FL account for
                                                          Hospital Laboratory Partners
                                                          (MDFL-0253483 - 0253492)
13C                                 FBI Forensic          Gateway Bank of Central FL
                                    Accountant            January 2017 statement (account
                                    Kimberly Henderson    ending 4841) for Hospital
                                                          Laboratory Partners showing
                                                          deposit of $2,208,799.41 (MDFL-
     Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 15 of 45 PageID 5149

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness              Description of Exhibit
Number      Identified   Admitted
                                                          0201318 – 0201320)
14                                  FBI Forensic          January 2017 TD Bank statement
                                    Accountant            (ending 0809) for Empower
                                    Kimberly Henderson    Investment Group, LLC showing
                                                          transfer in of $500,000 on
                                                          1/23/17 (MDFL-0256480 –
                                                          0256483)
15A                                 FBI Forensic          January 2017 Wells Fargo
                                    Accountant            statement (ending 3021) for
                                    Kimberly Henderson    Lifebrite Laboratories LLC
                                                          showing transfer in of $802,053
                                                          on 1/30/17 (MDFL-0274842 –
                                                          0274853)
15B                                 FBI Forensic          Summary Chart illustrating
                                    Accountant            financial transactions involving
                                    Kimberly Henderson    Putnam Hospital, Hospital
                                                          Laboratory Partners, Pinnacle
                                                          Labs, Jim Porter, Jr., Empower
                                                          H.I.S., Jorge and Ricardo Perez,
                                                          LifeBrite Labs, and Christian
                                                          Fletcher for Counts 11 through 15
16A                                 FBI Forensic          May 2017 Gateway Bank
                                    Accountant            statement (ending 4841) for
                                    Kimberly Henderson    Hospital Laboratory Partners
                                                          showing transfer out of $75,000
                                                          and check no. 1167 dated
                                                          5/15/17 (MDFL-0201330 –
                                                          0201333, MDFL-0201535)
16B                                 FBI Forensic          May 2017 Community Bank &
                                    Accountant            Trust (ending 4477) for TYSI
                                    Kimberly Henderson    LLC showing deposit of check
                                                          no. 1167 for $75,000 dated
                                                          5/15/17 and deposit slip
                                                          (MDFL-0203797 – 0203801,
                                                          MDFL-0203832)
17A                                 FBI Forensic          April 2016 People’s Bank of
                                    Accountant            Graceville statement (ending
                                    Kimberly Henderson    0377) for Campbellton Graceville
                                                          Hospital showing wire transfer
                                                          out of $93,328 to RAJ (Pinnacle
                                                          Labs) on 4/15/16 (MDFL-
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness              Description of Exhibit
Number      Identified   Admitted
                                                         0251838 – 0251845, MDFL-
                                                         0251849)
17B                                 FBI Forensic         Gateway Bank of Central FL
                                    Accountant           wire detail for 4/15/16 wire of
                                    Kimberly Henderson   $93,313.75 from People’s Bank of
                                                         Graceville (account ending 0377)
                                                         for Campbellton Graceville
                                                         Hospital to Gateway Bank of
                                                         Central FL account for RAJ
                                                         Enterprises (Pinnacle Labs), and
                                                         April 2016 RAJ Enterprises
                                                         statement (ending 3454) (MDFL-
                                                         0203514, MDFL-0203499 -
                                                         0203500)
17C                                 FBI Forensic         Summary chart showing financial
                                    Accountant           transactions involving CGH and
                                    Kimberly Henderson   Pinnacle Labs on 4/15/16 for
                                                         $93,313.75 for Count 17
18A                                 FBI Forensic         December 2016 Gateway Bank
                                    Accountant           statement (ending 4841) for
                                    Kimberly Henderson   Hospital Laboratory Partners
                                                         LLC showing transfer out of
                                                         $1,125,300 on 12/23/16 (MDFL-
                                                         0201315 – 0201317)
18B                                 FBI Forensic         December 2016 Wells Fargo
                                    Accountant           statement (ending 3021) for
                                    Kimberly Henderson   Lifebrite Laboratories LLC
                                                         showing transfer in of $1,125,300
                                                         on 12/23/16 (MDFL-0274829 –
                                                         0274841)
18C                                 FBI Forensic         Summary Chart showing
                                    Accountant           financial transaction involving
                                    Kimberly Henderson   Putnam Hospital, Hospital
                                                         Laboratory Partners, and
                                                         LifeBrite Labs on 12/23/16 for
                                                         $1,125,300.16 for Count 18
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness             Description of Exhibit
Number      Identified   Admitted
19A                                 FBI Forensic         February 2017 Putnam County
                                    Accountant           State Bank statement (ending
                                    Kimberly Henderson   9924) for Putnam County
                                                         Hospital showing transfer out of
                                                         $1,463,361 on 2/3/17 (MDFL-
                                                         0253248 – 0253264)
19B                                 FBI Forensic         February 2017 Gateway Bank
                                    Accountant           statement (ending 4841) for
                                    Kimberly Henderson   Hospital Laboratory Partners
                                                         LLC showing transfer in of
                                                         $1,463,361 on 2/3/17 (MDFL-
                                                         0201321 – 0201323)
20A                                 FBI Forensic         April 2017 Gateway Bank
                                    Accountant           statement (ending 4841) for
                                    Kimberly Henderson   Hospital Laboratory Partners
                                                         LLC showing transfer out of
                                                         $1,000,000 on 4/28/17 (MDFL-
                                                         0201327 – 0201329)
20B                                 FBI Forensic         April 2017 TD Bank statement
                                    Accountant           (ending 9018) for Empower HIS
                                    Kimberly Henderson   LLC showing transfer in of
                                                         $1,000,000 on 4/28/17 (MDFL-
                                                         0255060-0255073)
20C                                 FBI Forensic         Summary chart showing financial
                                    Accountant           transactions involving Putnam
                                    Kimberly Henderson   Hospital, Hospital Laboratory
                                                         Partners, Jim Porter, Jr.,
                                                         Empower H.I.S., and Jorge and
                                                         Ricardo Perez on 2/3/17
                                                         ($1,463,361.53) and 4/28/17
                                                         ($1,000,000.00) for Counts 19
                                                         and 20
21A                                 FBI Forensic         May 2017 Gateway Bank
                                    Accountant           statement (ending 4841) for
                                    Kimberly Henderson   Hospital Laboratory Partners
                                                         LLC showing transfer out of
                                                         $250,000 on 5/22/17 (MDFL-
                                                         0201330 – 0201333)
21B                                 FBI Forensic         May 2017 TD Bank statement
                                    Accountant           (ending 0809) for Empower
                                    Kimberly Henderson   Investment Group showing
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness               Description of Exhibit
Number      Identified   Admitted
                                                          transfer in of $250,000 on
                                                          5/22/17 (MDFL-0256493 –
                                                          0256496)
22A                                 FBI Forensic          May 2017 Gateway Bank
                                    Accountant            statement (ending 4841) for
                                    Kimberly Henderson    Hospital Laboratory Partners
                                                          LLC showing transfer out of
                                                          $75,000 via check no. 1179
                                                          payable to Sean Porter (MDFL-
                                                          0201330 – 0201333, MDFL-
                                                          0201536)
22B                                 FBI Forensic          May 2017 Community Bank &
                                    Accountant            Trust statement (ending 4477) for
                                    Kimberly Henderson    TYSI LLC showing deposit of
                                                          check no. 1179 payable to Sean
                                                          Porter and deposit slip showing
                                                          the $75,000 deposit as part of a
                                                          $150,000 deposit (MDFL-
                                                          0203797 – 0203801,
                                                          MDFL0203832)
22C                                 FBI Forensic          Summary chart showing financial
                                    Accountant            transactions involving Putnam
                                    Kimberly Henderson    Hospital, Hospital Laboratory
                                                          Partners, Jim Porter, Jr., Sean
                                                          Porter, Empower H.I.S., and
                                                          Jorge and Ricardo Perez for
                                                          Counts 16, 21, and 22
23A                                 FBI Forensic          December 2017 BB&T Bank
                                    Accountant Kimberly   statement (ending 4369) for
                                    Henderson             Durall Capital Holdings, LLC
                                                          showing transfer out of
                                                          $1,715,283 via check no. 1194 to
                                                          KTL (Labs) dated 12/7/17 and
                                                          clearing the Durall Capital
                                                          Holdings, LLC account on
                                                          12/11/17, and check no. 1194
                                                          (DOJCGH_0001281734 –
                                                          0001281743, MDFL-0346392)
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness              Description of Exhibit
Number      Identified   Admitted
23B                                 FBI Forensic          December 2017 JP Morgan
                                    Accountant Kimberly   Chase statement (ending 2011)
                                    Henderson             for KTL Labs showing deposit of
                                                          check no. 1194 in amount of
                                                          $1,715,283, and check no. 1194
                                                          in same amount (MDFL-0235481
                                                          – 0235486, MDFL-0235488)
23C                                 Kyle Marcotte         Email from Aaron Durall to Kyle
                                                          Marcotte with attachment
                                                          showing commissions for
                                                          12/5/17
                                                          (DOJCGH_0001033766,
                                                          DOJCGH_0001033784)
23D                                 FBI Forensic          Summary Chart showing
                                    Accountant Kimberly   financial transaction involving
                                    Henderson             Chestatee Hospital, DL
                                                          Investment Holdings, LLC,
                                                          Aaron Durall, Neisha Zaffuto,
                                                          KTL Labs, and Kyle Marcotte on
                                                          12/11/17 ($1,715,283.56) for
                                                          Count 23
24A                                 FBI Forensic          Summary Chart showing
                                    Accountant Kimberly   monthly deposits to bank
                                    Henderson             accounts for CGH, RGH,
                                                          Putnam and Chestatee from
                                                          January 2015 through August
                                                          2018
24B                                 FBI Forensic          Summary Chart showing
                                    Accountant Kimberly   payments from CGH, RGH,
                                    Henderson             Putnam, and Chestatee to Labs
                                                          or Lab Related Companies
24C                                 FBI Forensic          Summary Chart showing
                                    Accountant Kimberly   itemized financial transactions
                                    Henderson             from CGH, RGH, and Labs, to
                                                          CGH Holdings and Cambridge
                                                          Merchant Capital Group
                                                          involving Aaron Alonzo and
                                                          Nestor Rojas
24D                                 FBI Forensic          Summary Chart showing net flow
                                    Accountant Kimberly   of proceeds from CGH, RGH,
                                    Henderson             and Labs to CGH Holdings,
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness              Description of Exhibit
Number      Identified   Admitted
                                                          Cambridge and other entities
                                                          incorporated by Aaron Alonzo
                                                          and Nestor Rojas
24E                                 FBI Forensic          Summary Chart showing
                                    Accountant Kimberly   percentage of deposits into
                                    Henderson             Independent Laboratory
                                                          Accounts from Urine Drug
                                                          Testing and Blood Testing
25E(1)                              Missy Parks           CGH – Claims grouped by CPT
                                                          Code categories
25E(2)                              Missy Parks           CGH – Chart showing claims
                                                          billed by CPT Code categories
25E(3)                              Missy Parks           CGH – Chart showing claims
                                                          paid by CPT Code categories
25E(4)                              Missy Parks           CGH – Chart showing
                                                          presumptive (qualitative) versus
                                                          definitive (quantitative) billed
                                                          amounts by month and year
25E(5)                              Missy Parks           CGH – Chart showing
                                                          presumptive (qualitative) versus
                                                          definitive (quantitative) paid
                                                          amounts by month and year
25E(6)                              Missy Parks           CGH – Combined presumptive
                                                          (qualitative) versus definitive
                                                          (quantitative) billed and paid
                                                          amounts by month and year
25E(7)                              Missy Parks           CGH – Comparison of Hospital
                                                          presumptive (qualitative) and
                                                          definitive (quantitative) billed and
                                                          paid amounts compared to the
                                                          same for Reliance Labs, LifeBrite
                                                          Labs, and Pinnacle Labs
25E(8)                              Missy Parks           Combined chart showing
                                                          Reliance Labs, LifeBrite Labs,
                                                          and Pinnacle Labs billed and paid
                                                          amounts for all categories of
                                                          claims submitted to insurance
                                                          companies during the CGH
                                                          billing time period
25F(1)                              Missy Parks           RGH – Claims grouped by CPT
                                                          Code categories
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    EXHIBIT LIST - Continuation Sheet

Exhibit     Date        Date
                                          Witness             Description of Exhibit
Number    Identified   Admitted
25F(2)                            Missy Parks          RGH – Chart showing claims
                                                       billed by CPT Code categories
25F(3)                            Missy Parks          RGH – Chart showing claims
                                                       paid by CPT Code categories
25F(4)                            Missy Parks          RGH – Chart showing
                                                       presumptive (qualitative) versus
                                                       definitive (quantitative) billed
                                                       amounts by month and year
25F(5)                            Missy Parks          RGH – Chart showing
                                                       presumptive (qualitative) versus
                                                       definitive (quantitative) paid
                                                       amounts by month and year
25F(6)                            Missy Parks          RGH – Combined presumptive
                                                       (qualitative) versus definitive
                                                       (quantitative) billed and paid
                                                       amounts by month and year
25F(7)                            Missy Parks          RGH – Comparison of Hospital
                                                       presumptive (qualitative) and
                                                       definitive (quantitative) billed and
                                                       paid amounts compared to the
                                                       same for Reliance Labs, LifeBrite
                                                       Labs, and Pinnacle Labs
25F(8)                            Missy Parks          Combined chart showing
                                                       Reliance Labs, LifeBrite Labs,
                                                       and Pinnacle Labs billed and paid
                                                       amounts for all categories of
                                                       claims submitted to insurance
                                                       companies during the RGH
                                                       billing time period
25G(1)                            Missy Parks          Putnam – Claims grouped by
                                                       CPT Code categories
25G(2)                            Missy Parks          Putnam – Chart showing claims
                                                       billed by CPT Code categories
25G(3)                            Missy Parks          Putnam – Chart showing claims
                                                       paid by CPT Code categories
25G(4)                            Missy Parks          Putnam – Chart showing
                                                       presumptive (qualitative) versus
                                                       definitive (quantitative) billed
                                                       amounts by month and year
25G(5)                            Missy Parks          Putnam – Chart showing
                                                       presumptive (qualitative) versus
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    EXHIBIT LIST - Continuation Sheet

Exhibit     Date        Date
                                          Witness             Description of Exhibit
Number    Identified   Admitted
                                                       definitive (quantitative) paid
                                                       amounts by month and year
25G(6)                            Missy Parks          Putnam – Combined presumptive
                                                       (qualitative) versus definitive
                                                       (quantitative) billed and paid
                                                       amounts by month and year
25G(7)                            Missy Parks          Putnam – Comparison of
                                                       Hospital presumptive
                                                       (qualitative) and definitive
                                                       (quantitative) billed and paid
                                                       amounts compared to the same
                                                       for Pinnacle Labs and LifeBrite
                                                       Labs
25G(8)                            Missy Parks          Combined chart showing
                                                       Pinnacle Labs and LifeBrite Labs
                                                       billed and paid amounts for all
                                                       categories of claims submitted to
                                                       insurance companies during the
                                                       Putnam billing time period
25G(9)                            Missy Parks          Putnam – Definitive
                                                       (quantitative) drug screens billed
                                                       prior to September 15, 2016
25G(10)                           Missy Parks          Putnam – Claims for date of
                                                       service before 2/11/17
25H(1)                            Missy Parks          Chestatee – Claims grouped by
                                                       CPT Code categories
25H(2)                            Missy Parks          Chestatee – Chart showing claims
                                                       billed by CPT Code categories
25H(3)                            Missy Parks          Chestatee – Chart showing claims
                                                       paid by CPT Code categories
25H(4)                            Missy Parks          Chestatee - Chart showing
                                                       presumptive (qualitative) versus
                                                       definitive (quantitative) billed
                                                       amounts by month and year
25H(5)                            Missy Parks          Chestatee – Chart showing
                                                       presumptive (qualitative) versus
                                                       definitive (quantitative) paid
                                                       amounts by month and year
25H(6)                            Missy Parks          Chestatee - Combined
                                                       presumptive (qualitative) versus
                                                       definitive (quantitative) billed and
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness                 Description of Exhibit
Number      Identified   Admitted
                                                             paid amounts by month and year
25H(7)                              Missy Parks              Chestatee - Comparison of
                                                             Hospital presumptive
                                                             (qualitative) and definitive
                                                             (quantitative) billed and paid
                                                             amounts compared to the same
                                                             for Reliance Labs
25H(8)                              Missy Parks              Combined chart showing
                                                             Reliance Labs billed and paid
                                                             amounts for all categories of
                                                             claims submitted to insurance
                                                             companies during the Chestatee
                                                             billing time period
25I                                 Missy Parks              CGH and RGH – Florida Blue
                                                             billing for same patients
25J                                 Missy Parks              Total Amount Billed and Paid for
                                                             all 4 Hospitals to all insurance
                                                             companies
25K                                 Missy Parks              Total combined presumptive
                                                             (qualitative) and definitive
                                                             (quantitative) drug tests Billed
                                                             and Paid for all 4 Hospitals and
                                                             all insurance companies
25L                                 Missy Parks              Total presumptive (qualitative)
                                                             drug tests Billed and Paid for all 4
                                                             Hospitals and all insurance
                                                             companies
25M                                 Missy Parks              Total definitive (quantitative)
                                                             drug tests Billed and Paid for all 4
                                                             Hospitals and all insurance
                                                             companies
25N                                 Missy Parks              Claims from CGH to Florida
                                                             Blue for patient M.J.
26A                                 Michelle Jordan          Campbellton Graceville Hospital
                                                             (CGH) – People’s Choice
                                                             Hospital (PCH) Management
                                                             Agreement dated 5/11/15
                                                             (MDFL-0361553 - 0361577)
26B                                 Garrett Shohan (Aetna)   CGH – Reliance Labs Agreement
                                    Edith Mears              dated 10/1/2015, with cover
                                                             emails (DOJCGH_00000022773-
  Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 24 of 45 PageID 5158

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness          Description of Exhibit
Number      Identified   Admitted
                                                       784)
26C                                 Edith Mears        CGH – LifeBrite Labs Services
                                                       Agreement dated 10/1/15
                                                       (DOJCGH_00016727892)
                                                       (LifeBrite000001 – 000022)
26D                                 Edith Mears        CGH – Pinnacle Labs Agreement
                                                       dated 3/1/2016
                                                       (MDFL_0361578 - 361599)
26E                                 Nestor Rojas       CGH – CGH Holdings
                                                       Agreement dated 05/22/16
                                                       signed by Jorge Perez and Aaron
                                                       Alonzo (MDFL-0361070 –
                                                       0361077)
26F                                 Edith Mears        Regional General Hospital
                                                       (RGH) – Empower Healthcare
                                                       Management Agreement dated
                                                       6/1/16 (MDFL-0362362 -
                                                       0362375)
26G                                 Edith Mears        RGH – LifeBrite Reference
                                                       Laboratory Services Agreement
                                                       dated 6/27/16
                                                       (DOJCGH_00016727892)
                                                       (LifeBrite000023 – 000044)
26H                                 Edith Mears        RGH – Pinnacle Reference
                                                       Laboratory Services Agreement
                                                       dated 2/1/16
                                                       (DOJCGH_0001203123) (HLP
                                                       SUB 1260 – 1264)
26I                                 Edith Mears        RGH – Pinnacle Laboratory
                                                       Services Agreement dated 6/1/16
                                                       (DOJCGH_0001203123) (HLP
                                                       SUB 1267 – 1270)
26J                                 David Byrns        Putnam County Memorial
                                                       Hospital (Putnam Hospital) –
                                                       Hospital Laboratory Partners
                                                       Independent Contractor
                                                       Agreement dated 10/20/16
                                                       (MDFL-0370951 - 370962)
26K                                 David Byrns        Putnam Hospital and Hospital
                                                       Partners, Inc. Agreement (Bates
                                                       MDFL-0366110 – 0366120)
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness                 Description of Exhibit
Number      Identified   Admitted
26L                                 David Byrns             Hospital Partners and Empower
                                                            HIS, LLC Agreement dated
                                                            9/15/16 (Bates MDFL 0360632 –
                                                            360633)
26M                                 David Byrns             Hospital Partners, Lifebrite Labs,
                                                            and Putnam Hospital Services
                                                            Agreement (Bates
                                                            DOJCGH_00016727892;
                                                            Lifebrite 000045 - 000070)
26N                                 FBI SA Justin Brannon   Empower HIS, LLC and
                                                            LifeBrite Labs Billing Services
                                                            Agreement dated 1/1/16
                                                            (DOJCGH_00016727892)
                                                            (LifeBrite000071 – 000076)
26O                                 FBI SA Justin Brannon   CD with log of LifeBrite Labs
                                                            claims billed through CGH,
                                                            RGH, and Putnam County
                                                            Memorial Hospital
                                                            (DOJCGH_00016727892)
                                                            (LifeBrite 000195 – 003732)
26O(1)                              FBI SA Justin Brannon   Sample of LifeBrite Labs claims
                                                            billed through CGH
                                                            (DOJCGH_00016727892)
                                                            (LifeBrite 000195 – 000350)
                                                            (Subset of LifeBrite 000195 –
                                                            000908)
26O(2)                              FBI SA Justin Brannon   Sample of LifeBrite Labs claims
                                                            billed through RGH
                                                            (DOJCGH_00016727892)
                                                            (LifeBrite 000909 – 001059)
                                                            (Subset of LifeBrite 000909 –
                                                            002856)
26O(3)                              FBI SA Justin Brannon   Sample of LifeBrite Labs claims
                                                            billed through Putnam Hospital
                                                            (DOJCGH_00016727892)
                                                            (LifeBrite 002857 – 003007)
                                                            (Subset of LifeBrite 002857 –
                                                            003732)
27A                                 David Byrns             State of Florida Incorporation
                                                            document for Hospital Partners,
                                                            Inc. (Bates MDFL-0366009)
  Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 26 of 45 PageID 5160

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness            Description of Exhibit
Number      Identified   Admitted
27B                                 David Byrns        State of Missouri Incorporation
                                                       document for Hospital Partners,
                                                       Inc. (Bates MDFL-0366012)
27C                                 David Byrns        Email on 1/13/16 between Jorge
                                                       Perez and David Byrns regarding
                                                       Regional General Hospital
                                                       (RGH) Williston (MDFL-
                                                       0369251)
27D                                 David Byrns        Email on 2/11/16 between
                                                       David Byrns and Ricardo Perez
                                                       regarding CPT code charges
                                                       (MDFL-0369566-0369567)
27E                                 David Byrns        Email on 2/12/16 between
                                                       David Byrns and Jorge Perez
                                                       regarding a sample claim
                                                       involving Reliance Labs and a
                                                       Beaches Recovery patient
                                                       (MDFL-0369609 – 0369611)
27F                                 David Byrns        Email on 2/18/16 between
                                                       David Byrns and Christian
                                                       Fletcher regarding search for
                                                       Critical Access Care Hospitals
                                                       (MDFL-0369620 - 0369625)
27G                                 David Byrns        Email on 2/26/16 between
                                                       David Byrns and Christian
                                                       Fletcher regarding Critical Access
                                                       Care Hospitals in other states
                                                       (MDFL-0369777)
27H                                 David Byrns        Email on 3/2/16 between David
                                                       Byrns and Christian Fletcher
                                                       regarding RGH-Williston
                                                       (MDFL-0362561 – 0362562)
27I                                 David Byrns        Email on 9/12/16 between
                                                       David Byrns and Jorge Perez
                                                       attaching the Putnam County
                                                       Memorial Hospital Logo
                                                       (MDFL-0360733 – 0360734)
27J                                 David Byrns        Email on 9/27/16 from David
                                                       Byrns to Jorge Perez attaching
                                                       Putnam County Memorial
                                                       Hospital Clinical Laboratory
  Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 27 of 45 PageID 5161

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness            Description of Exhibit
Number      Identified   Admitted
                                                       Improvement Amendments
                                                       Certificate (MDFL-0392982 –
                                                       0392983)
27K                                 David Byrns        Email on 10/23/16 between
                                                       David Byrns and Jorge Perez
                                                       regarding the visibility of Putnam
                                                       County Memorial Hospital (Bates
                                                       MDFL-0370568)
27L                                 David Byrns        Email on 11/1/16 from Jim
                                                       Porter to David Byrns regarding
                                                       Putnam Hospital laboratory form
                                                       (Bates MDFL-0370986 -
                                                       0370987)
27M                                 David Byrns        Email on 11/2/16 involving
                                                       David Byrns and Sean Porter
                                                       regarding lab machine
                                                       replacement at Putnam Hospital
                                                       (Bates MDFL-0371006)
27N                                 David Byrns        Email on 11/4/16 involving Sean
                                                       Porter and David Burns regarding
                                                       the lab at Putnam Hospital (Bates
                                                       MDFL-0371188)
27O                                 David Byrns        Email on 11/16/16 involving
                                                       David Byrns and Ricardo Perez
                                                       regarding web portals at Putnam
                                                       Hospital for billing purposes
                                                       (Bates MDFL-0371934)
27P                                 David Byrns        Email on 11/17/16 involving
                                                       Ricardo Perez, Yesenia Hidalgo,
                                                       and David Byrns regarding EOBs
                                                       and a dropbox link (MDFL-
                                                       0371980)
27Q                                 David Byrns        Email forward on 11/22/16 and
                                                       11/23/16 involving David Byrns
                                                       and Jim Porter regarding an
                                                       inquiry from BCBS (Anthem) in
                                                       Missouri (Bates MDFL-0372257
                                                       – 0372258)
27R                                 David Byrns        Email on 11/28/16 involving
                                                       Jorge Perez, David Byrns,
                                                       Rhonda Webber, and others
  Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 28 of 45 PageID 5162

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness           Description of Exhibit
Number      Identified   Admitted
                                                       regrading wire transfers for lab
                                                       payments (Bates MDFL-0372321
                                                       – 0372323)
27S                                 David Byrns        Email spanning 12/2/16 to
                                                       12/5/16 involving David Byrns,
                                                       Jorge Perez, Ricardo Perez, Jim
                                                       Porter, Sean Porter, and others
                                                       regarding a specific patient EOB
                                                       (also attached) for Putnam
                                                       Hospital and also involving
                                                       Lifebrite Labs (Bates MDFL-
                                                       0360748 – 0360758)
27T                                 David Byrns        Email on 12/2/16 involving
                                                       David Byrns, Jorge Perez, and
                                                       Ricardo Perez regarding wire
                                                       transfers for LifeBrite Labs,
                                                       Pinnacle Labs, and Empower
                                                       HIS from Putnam County
                                                       Memorial Hospital (MDFL-
                                                       0392093 – 0392094)
27U                                 David Byrns        Email on 1/6/17 involving Jorge
                                                       Perez, David Byrns, and Rhonda
                                                       Webber regarding wire transfers
                                                       to Hospital Laboratory Partners,
                                                       Empower, and other entities
                                                       (Bates MDFL-0374570 –
                                                       0374571)
27V                                 David Byrns        Email on 2/1/17 from David
                                                       Byrns to Jim Porter and Sean
                                                       Porter attaching the agreement
                                                       between Putnam County
                                                       Memorial Hospital and Blue
                                                       Cross/Blue Shield Missouri
                                                       (RightChoice) (MDFL-0391662 –
                                                       0391693)
27W                                 David Byrns        Email on 2/9/17 from David
                                                       Byrns to Jorge Perez, Ricardo
                                                       Perez, Jim Porter, and Sean
                                                       Porter regarding medical records
                                                       requests (MDFL-0394902 –
                                                       0394904)
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness           Description of Exhibit
Number      Identified   Admitted
27X                                 David Byrns        Letter dated 3/1/17 from
                                                       Jennifer Forsythe (BCBS-Anthem
                                                       Missouri) to David Byrns
                                                       regarding Putnam Hospital (Bates
                                                       MDFL-0360807)
27Y                                 David Byrns        Email communications spanning
                                                       3/13/17 to 3/15/17 involving
                                                       Jorge Perez, David Byrns, Mark
                                                       Thomas, JT Lander, and
                                                       Christian Fletcher regarding
                                                       answers to the March 1, 2017
                                                       letter from Jennifer Forsythe
                                                       (Bates MDFL-0360808 –
                                                       0360810)
27Z                                 David Byrns        Email dated 3/15/17 from JT
                                                       Lander to David Byrns and
                                                       copying Jorge Perez, Jim Porter,
                                                       and Mark Thomas attaching a
                                                       3/15/17 response to Jennifer
                                                       Forsythe (Anthem) regarding
                                                       Anthem’s questions in the
                                                       3/1/17 letter (Bates MDFL-
                                                       0399552, 0399553, 0399551,
                                                       0399554)
27AA                                David Byrns        Letter dated 5/8/17 from
                                                       Jennifer Forsythe to David Byrns
                                                       responding to David Byrns’
                                                       3/13/17 letter to Forsythe (Bates
                                                       MDFL-0360814)
27BB                                David Byrns        Email dated 5/25/17 from David
                                                       Byrns to Jennifer Forsythe
                                                       responding to the letter dated
                                                       5/8/17 from David Byrns (Bates
                                                       MDFL-0360818 – 0360820)
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       EXHIBIT LIST - Continuation Sheet

Exhibit        Date        Date
                                             Witness          Description of Exhibit
Number       Identified   Admitted
27CC                                 Garrett Shohan    Letter dated 3/6/17 from Garrett
                                     David Byrns       Shohan (Aetna) to David Byrns
                                                       (Hospital Partners) regarding lab
                                                       billing at Putnam County
                                                       Memorial Hospital, and to Aaron
                                                       Durall regarding lab billing to
                                                       Chestatee Regional Hospital
                                                       (DOJCGH_0001549459,
                                                       0001549461)
27DD                                 David Byrns       Email on 3/14/17 from David
                                                       Byrns to Jim Porter, Jorge Perez,
                                                       and Ricardo Perez attaching the
                                                       Putnam County Memorial
                                                       Hospital contracts with BCBS
                                                       Missouri (RightChoice/Anthem)
                                                       and Putnam Hospital and Aetna
                                                       (MDFL-0399555 – 0399609)
27EE                                 David Byrns       Email dated 3/17/17 to Jorge
                                                       Perez, Jim Porter, and JT Lander
                                                       regarding answering Missouri
                                                       auditor’s inquiry (MDFL-
                                                       0399546)
27FF                                 David Byrns       Email dated 6/7/17 from
                                                       Ricardo Perez to David Byrns
                                                       and Jorge Perez attaching a
                                                       summary of the May 2017 billing
                                                       to insurance companies (MDFL-
                                                       389891, MDFL-417585)
27GG                                 David Byrns       Letter dated 6/23/17 from UHC
                                                       to David Byrns (Hospital
                                                       Partners) regarding billing at
                                                       Putnam County Memorial
                                                       Hospital (MDFL-0398319 –
                                                       0398320)
27HH                                 David Byrns       Email dated 9/19/17 from
                                                       Ricardo Perez to David Byrns
                                                       and others attaching reports for
                                                       Lab billing for April through June
                                                       2017 (Bates MDFL-0391347,
                                                       0423995 – 0423997)
27II                                 David Byrns       Plea Agreement – David Byrns
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       EXHIBIT LIST - Continuation Sheet

Exhibit        Date        Date
                                             Witness                Description of Exhibit
Number       Identified   Admitted
27JJ                                 David Byrns             Email dated 11/1/16 from Jorge
                                                             Perez to David Byrns
                                                             (DOJCGH_0001203123) (HLP
                                                             SUB 0766)
28A                                  Yesenia Hidalgo         Email dated 3/10/16 from
                                                             Ricardo Perez to Jim Porter,
                                                             Jorge Perez, and another
                                                             Pinnacle Labs employee
                                                             regarding a dropbox setup and
                                                             billing via CGH and RGH
                                                             (DOJCGH_0001203123) (HLP
                                                             SUB 0819)
28B                                  Yesenia Hidalgo         Email dated 3/8/16 and 3/9/16
                                     FBI SA Justin Brannon   involving Ricardo Perez and Jim
                                                             Porter regarding user name and
                                                             login for Pinnacle Labs regarding
                                                             Jim Porter’s account
                                                             (DOJCGH_0001203123) (HLP
                                                             SUB 0820)
28C                                  Yesenia Hidalgo         Email dated 3/15/16 involving
                                                             Yesenia Hidalgo and Christian
                                                             Fletcher (copying Jorge Perez
                                                             and Ricardo Perez) regarding
                                                             CGH and LifeBrite and when
                                                             payment will be received
                                                             (DOJCGH_0001065935 –
                                                             0001065936)
28D                                  Yesenia Hidalgo         Email dated 3/23/16 involving
                                                             Yesenia Hidalgo and Christian
                                                             Fletcher regarding UHC being
                                                             direct deposit
                                                             (DOJCGH_0001065958 –
                                                             0001065959)
28E                                  Yesenia Hidalgo         Email dated 4/14/16 from
                                                             Yesenia Hidalgo to Christian
                                                             Fletcher (copying Ricardo Perez
                                                             and Jorge Perez) regarding the
                                                             BCBS deposit breakdown for
                                                             4/13/16 (DOJCGH_0001066059
                                                             – 0001066060)
28F                                  Yesenia Hidalgo         Email dated 5/16/16 from
  Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 32 of 45 PageID 5166

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness           Description of Exhibit
Number      Identified   Admitted
                                                       Cynthi Delgado to Ricardo
                                                       Perez, Jose Salazar, and Yesenia
                                                       Hidalgo (copying Christian
                                                       Fletcher and Amber Fletcher)
                                                       regarding moving an order #
                                                       141187 from LifeBrite to CGH
                                                       (DOJCGH_0001066210)
28G                                 Yesenia Hidalgo    Email dated 5/31/16 from
                                                       Yesenia Hidalgo to Christian
                                                       Fletcher and Amber Fletcher
                                                       (copying Ricardo Perez and Jorge
                                                       Perez) regarding RGH_LifeBrite
                                                       Login (DOJCGH_0001066399)
28H                                 Yesenia Hidalgo    Email dated 5/26/16 (9:37 am)
                                                       from Yesenia Hidalgo to Aaron
                                                       Durall (copying Ricardo Perrez
                                                       and Jorge Perez) regarding a
                                                       deposit breakdown for BCBS
                                                       totaling $1,365,136.30
                                                       (DOJCGH_0001278377)
                                                       (RELIANCE-0000153)
28I                                 Yesenia Hidalgo    Email dated 6/23/16 (5:33 pm)
                                                       from Yesenia Hidalgo to Aaron
                                                       Durall (copying Ricardo Perez
                                                       and Jorge Perez) regarding a bulk
                                                       deposit for CGH and RGH from
                                                       5/26/16 to date
                                                       (DOJCGH_0001278375)
                                                       (RELIANCE-0000151)
28J                                 Yesenia Hidalgo    Email dated 6/23/16 from
                                                       Yesenia Hidalgo to Aaron Durall
                                                       (copying Ricardo Perez and Jorge
                                                       Perez) regarding a deposit
                                                       breakdown for BCBS totaling
                                                       $1,409,891.84
                                                       (DOJCGH_0001278376)
                                                       (RELIANCE-0000152)
28K                                 Yesenia Hidalgo    Email dated 7/25/16 from
                                                       Yesenia Hidalgo to Aaron Durall
                                                       (copying Ricardo Perez and Jorge
                                                       Perez) regarding a bulk deposit
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness          Description of Exhibit
Number      Identified   Admitted
                                                       for CGH and RGH
                                                       (DOJCGH_0001278378)
                                                       (RELIANCE-0000154)
28L                                 Yesenia Hidalgo    Email dated 6/17/16 from
                                    Edith Mears        Yesenia Hidalgo to Chris Alise,
                                                       Edith Mears, Ricardo Perez, and
                                                       Jorge Perez regarding CGH
                                                       weekly totals spreadsheet
                                                       (DOJCGH_0000358174-175)
28M                                 Yesenia Hidalgo    Email dated 7/28/16 from
                                                       Yesenia Hidalgo to Christian
                                                       Fletcher (copying Ricardo Perez
                                                       and Jorge Perez) regarding RGH
                                                       LifeBrite BCBS Deposit
                                                       Breakdown for 7/27/16
                                                       (DOJCGH_0001066725)
28N                                 Yesenia Hidalgo    Email dated 8/19/16 from
                                                       Yesenia Hidalgo to Christian
                                                       Fletcher (copying Ricardo Perez
                                                       and Jorge Perez) regarding
                                                       disbursements from CGH and
                                                       RGH to LifeBrite
                                                       (DOJCGH_0001066797)
28O                                 Yesenia Hidalgo    Email dated 11/10/16 from
                                                       Yesenia Hidalgo to Christian
                                                       Fletcher (copying Ricardo Perez,
                                                       Jorge Perez, and Jose Salazar
                                                       regarding billing of UHC insureds
                                                       (and other insurance companies)
                                                       through Putnam Hospital for
                                                       higher reimbursement
                                                       (DOJCGH_0001036336,
                                                       DOJCGH_0001055721)
28P                                 Yesenia Hidalgo    Email dated 2/14/17 between
                                                       Yesenia Hidalgo and Christian
                                                       Fletcher regarding insurance
                                                       payment details and links to the
                                                       Empower HIS billing portals for
                                                       CGH, RGH, Putnam Hospital,
                                                       and LifeBrite Direct
                                                       (DOJCGH_0001036552,
  Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 34 of 45 PageID 5168

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness                Description of Exhibit
Number      Identified   Admitted
                                                            DOJCGH_0001036555 –
                                                            0001037167)
28Q                                 Yesenia Hidalgo         Email dated 4/8/16 to Aaron
                                    Brenda Rhodes           Alonzo, Edith Mears, Brenda
                                    Edith Mears             Rhodes, Ricardo Perez, Jorge
                                    Nestor Rojas            Perez re: specimens from
                                                            reference lab Companion DX are
                                                            to be sent back there for
                                                            processing
                                                            (DOJCGH_0001004078)
28R                                 Yesenia Hidalgo         Email dated 8/4/16 to Edith
                                    Edith Mears             Mears, Ricardo Perez, Jorge
                                    Nestor Rojas            Perez, Nestor Rojas regarding
                                                            payments to CGH Holdings for
                                                            the CGH Holdings accounts
                                                            (DOJCGH_0000968403)
29A                                 FBI SA Justin Brannon   Amendment to Articles of
                                                            Incorporation for Medivance
                                                            Billing Service, Inc. (Bates
                                                            DOJCGH_0001034250)
29B                                 Dr. Corey Waller        CD containing Medivance
                                                            Records of Chestatee Hospital
                                                            Billing to Insurance Companies
                                                            by Patient Name (Bates
                                                            DOJCGH_0001034254,
                                                            DOJCGH_0001034255)
30A                                 Edith Mears             Email dated 5/16/16 involving
                                    Nestor Rojas            Aaron Alonzo and Nestor Rojas
                                                            forwarded to Edith Mears
                                                            attaching spreadsheet with
                                                            calculations for payout split for
                                                            urine testing involving CGH and
                                                            ON3 Healthcare
                                                            (DOJCGH_0000019333-334)
30B                                 Edith Mears             Email dated 6/17/16 involving
                                    Nestor Rojas            Aaron Alonzo, Nestor Rojas,
                                    Yesenia Hidalgo         Edith Mears, and Yesenia
                                                            Hidalgo regarding payment
                                                            amounts involving CGH
                                                            Holdings with attachments
                                                            (DOJCGH_0000326652-655)
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness          Description of Exhibit
Number      Identified   Admitted
30C                                 Nestor Rojas       Email spanning 7/26/16 and
                                    Yesenia Hidalgo    7/27/16 involving Aaron
                                                       Alonzo, Nestor Rojas, Jorge
                                                       Perez, Yesenia regarding
                                                       payments from Hospitals to CGH
                                                       Holdings Company, Inc.
                                                       (DOJCGH_00000043790)
30D                                 Edith Mears        Email from Seth Guterman to
                                    Nestor Rojas       Jorge Perez and Edith Mears,
                                                       dated 3/16/16, forwarding Aaron
                                                       Alonzo email and contract for a
                                                       reference lab
                                                       (DOJCGH_0000163985,
                                                       0000163986-993)
30E                                 Edith Mears        Email from Edith Mears
                                                       transmitting FL Blue letter to
                                                       Jorge Perez and others, dated
                                                       9/15/16, attaching letter re
                                                       billing of non-patient specimens
                                                       (DOJCGH_0000046207-208)
30F                                 Edith Mears        Email dated 7/21/16 from Edith
                                                       Mears forwarding Harvard
                                                       Pilgrim letter to Ricardo Perez
                                                       and Jorge Perez
                                                       (DOJCGH_0000043286-290)
30G                                 Edith Mears        Email from Jorge Perez re
                                                       responding to Harvard Pilgrim
                                                       letter (DOJCGH_0000043956-
                                                       957
30H                                 Edith Mears        Email dated 12/11/15 from
                                                       Ricardo Perez to Aaron Durall,
                                                       Edith Mears, Jorge Perez re
                                                       deposits for CGH_Reliance
                                                       (DOJCGH_0000029972-973)
30I                                 Edith Mears        Emails dated 12/18/15 between
                                                       R. Perez, J. Perez, Durall and
                                                       Edith Mears re Reliance
                                                       payments
                                                       (DOJCGH_0000029226-227)
30J                                 Edith Mears        Spreadsheet of payments to labs
                                                       (DOJCGH_0000032131-
     Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 36 of 45 PageID 5170

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness               Description of Exhibit
Number      Identified   Admitted
                                                            0000032132)
30K                                 Edith Mears             Email dated 9/1/16 with
                                                            attachments from Jim Porter to
                                                            Edith Mears re samples run for
                                                            CGH (DOJCGH_000032168-
                                                            172)
30L                                 Edith Mears             Emails dated 12/8/15 between J.
                                                            Perez and Edith Mears
                                                            (DOJCGH_0000030228)
30M                                 Edith Mears             Email dated 6/23/16 from
                                                            Hidalgo to J. Perez, copying
                                                            Mears, listing labs processing
                                                            through CGH
                                                            (DOJCGH_0000358277-279)
30N                                 Edith Mears             Email dated 7/22/16 forwarding
                                                            BCBSTX prepayment review
                                                            letter (DOJCGH_0000043626-
                                                            630)
30O                                 Edith Mears             Email dated 7/22/16 forwarding
                                                            Cigna medical review letter
                                                            (DOJCGH_0000043631-654)
31                                  Dr. Peter Kongstvedt    Graph showing claims billed per
                                                            month from September 2015
                                                            through February 2018 for four
                                                            hospitals (Campbellton-
                                                            Graceville, Regional General,
                                                            Chestatee, and Putnam)
32                                  Andy Young (Availity)   Spreadsheet showing example
                                                            claims for Campbellton-
                                                            Graceville Hospital, Regional
                                                            General Hospital, Putnam
                                                            Hospital, and Chestatee Hospital
                                                            with NM141 Submitter Field
                                                            (Bates DOJCGH_0001549477)
33                                  Brenda Rhodes           Email from Brenda Rhodes to
                                    Nestor Rojas            Aaron Alonzo and Nestor Rojas,
                                                            dated 7/1/16, regarding blood
                                                            samples being sent outside CGH
                                                            for testing
                                                            (DOJCGH_0000076822)
34                                  Kimberly Henderson      TYSI, Inc. signature card (Sean
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                           Witness            Description of Exhibit
Number      Identified   Admitted
                                                       Porter) (MDFL-0203667)
35A                                 James Balcom       Email dated 11/30/16 from
                                                       Alison Gawronski to James
                                                       Balcom (DOJCGH_0001670180)
35B                                 James Balcom       Emails dated 1/12/17 between
                                                       Dale Niehaus and James Balcom
                                                       (DOJCGH_0001669866-867)
35C                                 Heather Burch      Email string dated 1/19-20/17
                                    (Anthem)           between James Balcom and
                                    James Balcom       Heather Burch
                                                       (DOJCGH_0001669890-892)
35D                                 James Balcom       Email dated 1/26/17 from James
                                                       Balcom to Dale Niehaus
                                                       (DOJCGH_0001671101-102)
35E                                 James Balcom       Letter dated 1/24/17 from James
                                                       Balcom to Putnam County
                                                       Memorial Hospital
                                                       (DOJCGH_0001670168-169)
35F                                 Heather Burch      Emails dated 2/1/17 between
                                    (Anthem)           James Balcom and Heather
                                    James Balcom       Burch (DOJCGH_0001671603-
                                                       604)
35G                                 James Balcom       Letter dated 2/1/17 from James
                                                       Balcom to David Byrns putting
                                                       Putnam on pre-payment review
                                                       (DOJCGH_0001670158-167)
35H                                 James Balcom       Letter dated 3/13/17 from David
                                                       Byrns to Anthem responding to
                                                       Jennifer Forsythe’s 3/1/17 letter
                                                       (DOJCGH_0001671826-828)
35I                                 James Balcom       Letter dated 4/25/17 from
                                                       Jennifer Forsythe to David Byrns
                                                       (DOJCGH_0001672374)
35J                                 James Balcom       Emails dated 4/21/17 and
                                                       5/1/17 between John Houston
                                                       and James Balcom
                                                       (DOJCGH_0001669873-874)
35K                                 James Balcom       Email string ending 5/30/17
                                                       (DOJCGH_0001670859-860)
35L                                 James Balcom       Emails dated 6/1/17 between
                                                       James Balcom, James Porter, and
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness               Description of Exhibit
Number      Identified   Admitted
                                                            David Byrns
                                                            (DOJCGH_0001670247-248)
35M                                 James Balcom            Email string ending 7/6/17
                                                            (DOJCGH_0001670865-869)
35N                                 James Balcom            Emails dated 8/9/17 between
                                                            James Balcom and Anthem
                                                            employees
                                                            (DOJCGH_0001669916-917)
36                                  Michelle Jordan         Letter dated 6/22/16 from Aaron
                                                            Durall to Michelle Jordan
                                                            (DOJCGH_0001278281)
37                                  James Sherwood          Composite Exhibit of 837I
                                    (Anthem)                Transmissions from Empower
                                                            Examples are:
                                                            DOJCGH_0001639932 (text
                                                            version) DOJCGH_0001645516
                                                            (text version)
38A                                 FBI SA Justin Brannon   Invoices from Pinnacle
                                                            Laboratory Services to Hospital
                                                            Laboratory Partners
                                                            (DOJCGH_0001203123) (HLP
                                                            SUB 0212-0242)
38B                                 FBI SA Justin Brannon   Email string dated 1/27/17
                                                            (DOJCGH_0001203123) (HLP
                                                            SUB 0027)
38C                                 FBI SA Justin Brannon   Email string dated 2/3/17 and
                                                            2/6/17 (DOJCGH_0001203123)
                                                            (HLP SUB 0464)
38D                                 FBI SA Justin Brannon   Email string dated 2/17/17 and
                                                            2/27/17
                                                            (DOJCGH_0001203123) (HLP
                                                            SUB 0485-0487)
38E                                 FBI SA Justin Brannon   Email string dated 5/26/17 and
                                                            5/30/17
                                                            (DOJCGH_0001203123) (HLP
                                                            SUB 0504-0505)
39                                  Nestor Rojas            Plea Agreement – Nestor Rojas
40A                                 John Skeffington        Email communication on
                                                            10/8/16 involving John
                                                            Skeffington, John Berberian, and
                                                            Ricardo Perez
     Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 39 of 45 PageID 5173

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness                  Description of Exhibit
Number      Identified   Admitted
                                                              (DOJCGH_0001238301-305)
40B                                 John Skeffington          Plea Agreement (SDFL) 2018 –
                                                              John Skeffington
40C                                 John Skeffington          Plea Agreement (SDFL) 2013 –
                                                              John Skeffington
41A                                 Brenda Rhodes             Reliance Laboratory Lab
                                    Gary Ayres                Requisition Forms listing requests
                                    Eladia (Linda) Sullivan   for laboratory testing
                                                              (DOJCGH_0000534632-
                                                              0000534687)
41B                                 Brenda Rhodes             Reliance Laboratory Lab
                                    Gary Ayres                Requisition Forms listing requests
                                    Eladia (Linda) Sullivan   for laboratory testing
                                                              (DOJCGH_0000319369-
                                                              0000319412)
41C                                 Brenda Rhodes             Daily Intake Log with Lifebrite
                                                              Requisitions
                                                              (DOJCGH_0000511000-
                                                              0000511061)
41D                                 Brenda Rhodes             Daily Intake Log with Auspicious
                                                              Requisitions
                                                              (DOJCGH_0000166778-
                                                              0000166814
41E                                 Brenda Rhodes             Daily Intake Log with Axis
                                                              Requisitions
                                                              (DOJCGH_0000370381-
                                                              0000370450)
41F                                 Brenda Rhodes             Daily Intake Log with Lifebrite
                                                              Requisitions
                                                              (DOJCGH_0000513969-
                                                              0000513994)
                                                              DOJCGH_0000513969-
                                                              0000513994
42                                  Arceli Encienzo           Regional General Hospital
                                                              Requisition Forms showing
                                                              definitive test results from
                                                              LifeBrite Labs
                                                              (DOJCGH_0001174277-354)
                                                              (specifically only
                                                              JVSBILL000063547-624, 629-
                                                              635)
     Case 3:20-cr-00086-TJC-JBT Document 668 Filed 05/05/22 Page 40 of 45 PageID 5174

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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness                 Description of Exhibit
Number      Identified   Admitted
43A                                 Jim Langston (Waystar)   Incoming 837I data to Waystar
                                                             from Campbellton-Graceville
                                                             Hospital (CGH)
                                                             (DOJCGH_0001548391,
                                                             0001548402)
43B                                 Jim Langston (Waystar)   Incoming 837I data to Waystar
                                                             from Regional General Hospital
                                                             (RGH)
                                                             (DOJCGH_0001548894,
                                                             0001548898)
43C                                 Jim Langston (Waystar)   Incoming 837I data to Waystar
                                                             from Putnam County Memorial
                                                             Hospital (Putnam)
                                                             (DOJCGH_0001549263,
                                                             0001549219)
43D                                 Jim Langston (Waystar)   Incoming 837I data to Waystar
                                                             from Chestatee Regional Hospital
                                                             (Chestatee)
                                                             (DOJCGH_0001549177,
                                                             0001549184)
44A                                 Gary Ayres               Photograph of Federal Express
                                                             boxes stacked in CGH Lab
                                                             (DOJCGH_0001672793)
44B                                 Gary Ayres               Certain Photographs of
                                                             Campbellton-Graceville Hospital
                                                             contained in (MDFL-360048-
                                                             360099)
45                                  Edith Mears              Exterior photo of Regional
                                                             General Hospital
46                                  Dr. Belinda Fender       Certain Photographs of Putnam
                                    Gayle Pickens            County Memorial Hospital
                                                             contained in
                                                             (DOJCGH_0001517880-911,
                                                             MDFL-360190-360235)
47                                  Kelly Smallwood          Exterior photo of Chestatee
                                                             Regional Hospital
48A                                 Dr. Corey Waller         Medical Necessity – Urine Drug
                                                             Testing for all Hospitals
48B                                 Dr. Corey Waller         Medical Necessity – Individuals
                                                             with 10 or more unique definitive
                                                             (quantitative) tests (Part 1)
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness           Description of Exhibit
Number      Identified   Admitted
48C                                 Dr. Corey Waller   Medical Necessity – Individuals
                                                       with 10 or more unique definitive
                                                       (quantitative) tests (Part 2)
48D                                 Dr. Corey Waller   Medical Necessity – Out of State
                                                       presumptive tests (UHC) for all 4
                                                       Hospitals
48E                                 Dr. Corey Waller   Medical Necessity – In State vs.
                                                       Out of State cost difference
                                                       (UHC) for all 4 Hospitals
48F                                 Dr. Corey Waller   Medical Necessity – Out of State
                                                       presumptive tests (BCBS) for all 4
                                                       hospitals
48G                                 Dr. Corey Waller   Medical Necessity – In State v.
                                                       Out of State cost difference
                                                       (BCBS) for all 4 hospitals
48H                                 Dr. Corey Waller   Medical Necessity – Top patients
                                                       identified by hospital and insurer
48I                                 Dr. Corey Waller   Medical Necessity – Patient
                                                       Example (1)
48J                                 Dr. Corey Waller   Medical Necessity - Patient
                                                       Example (2)
48K                                 Dr. Corey Waller   Medical Necessity – Chart
                                                       showing CPT Codes and
                                                       frequency of appearance per
                                                       hospital with each insurer
48L                                 Dr. Corey Waller   Patient File
                                                       (DOJCGH_0001028182-
                                                       0001028586)
49A                                 Kelly Tobin        Email string ending on 9/2/16
                                                       among UHC personnel
                                                       (DOJCGH_0001660683 –
                                                       0001660691)
49B                                 Kelly Tobin        Email dated 2/9/17 between W.
                                                       Slattery and Kelly Tobin
                                                       (DOJCGH_0001660694)
49C                                 Kelly Tobin        Email dated 9/5/17 and 9/6/17
                                                       involving Kelly Tobin and a draft
                                                       letter to Regional General
                                                       Hospital Williston
                                                       (DOJCGH_0001660792,
                                                       DOJCGH_0001660800 –
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness               Description of Exhibit
Number      Identified   Admitted
                                                            0001660802)
49D                                 Kelly Tobin             Email dated 9/6/17 from D.
                                                            Webb to Kelly Tobin
                                                            (DOJCGH_0001660803)
49E                                 Kelly Tobin, David      Letter dated 10/3/17 from
                                    Byrns                   Heather Rickards to David Byrns
                                                            (DOJCGH_000131622-
                                                            0001031625
49F                                 Kelly Tobin             Letter dated 10/27/15 from Mark
                                                            Thomas to Kelly Tobin with
                                                            attachment #12
                                                            (DOJCGH_0001031633,
                                                            0001031789)
50                                  Edith Mears             Email dated 12/11/15 from
                                                            Aaron Durall to Ricardo Perez,
                                                            cc Edith Mears and Jorge Perez
                                                            (DOJCGH_0000029971)
51A                                 Garrett Shohan          Email dated 10/19/16 from
                                                            Garrett Shohan to Monyette
                                                            Johnson
                                                            (DOJCGH_0001549384)
51B                                 Garrett Shohan          Email dated 11/9/16 from
                                                            Garrett Shohan to Michael
                                                            Westbrook
                                                            (DOJCGH_0001549398)
51C                                 Garrett Shohan          Email dated 12/22/16 from
                                                            Deidra Thomas-Vanover to
                                                            Garrett Shohan
                                                            (DOJCGH_0001549448)
52A                                 Brenda Rhodes           List of Clients
                                                            (DOJCGH_0001672941-
                                                            0001672942)
52B                                 Brenda Rhodes           Notes on Companion accounts
                                                            (DOJCGH_0001672797-
                                                            0001672814)
52C                                 Brenda Rhodes           Notes on handling Companion
                                                            samples (DOJCGH_0001672895-
                                                            0001672898)
52D                                 Brenda Rhodes, Nestor   Notes on handling samples
                                    Rojas                   (DOJCGH_0001672878-
                                                            0001672887)
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      EXHIBIT LIST - Continuation Sheet

Exhibit       Date        Date
                                            Witness                    Description of Exhibit
Number      Identified   Admitted
53A                                 Kyle Marcotte             Emails dated 2/26/18 with
                                                              attached agreement
                                                              (DOJCGH_0001673586-
                                                              0001673596)
53B                                 Kyle Marcotte             Email dated 2/26/18 from Kim
                                                              Davis with attached agreement
                                                              (DOJCGH_0001673597-
                                                              0001673317)
54                                  Brenda Rhodes             Composite of Reliance
                                                              requisitions for M.J.
                                                              (DOJCGH_0000404652, 695;
                                                              0000405969; 0000406035, 395,
                                                              632; 0000407665; 0000408663;
                                                              0000409617, 782; 0000411199,
                                                              565; 0000413540, 672;
                                                              0000415319
55                                  Charles Kagey             Key to Florida Blue
                                                              clearinghouse codes
56                                  Arceli Encienzo           Email dated 12/15/16 from
                                                              Samantha Gray
                                                              (DOJCGH_0001087869)



      Changes to Government’s Exhibit List (Doc. 642)

      1.    Deleted Exhibit 1N(1)
      2.    Deleted Exhibit 1Q(1)
      3.    Deleted Exhibit 1R(1)
      4.    Deleted Exhibit 1S(1)
      5.    Deleted Exhibit 1U(1)
      6.    Deleted Exhibit 1V(1)
      7.    Deleted Exhibits 1W(1), 1W(2)
      8.    Deleted Exhibit 1X(1)
      9.    Deleted Exhibit 1X(3)
      10.   Exhibit 1Y, deleted DOJCGH_0001032661-701
      11.   Exhibit 1Z, deleted DOJCGH_0001030980-1001
      12.   Exhibit 1AA, deleted DOJCGH_0001031203-236
      13.   Exhibit 1BB, deleted DOJCGH_0001031494-509
      14.   Deleted all exhibits in the 25A, 25B, 25C and 25D series
      15.   Added Exhibit 25G(10)
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 EXHIBIT LIST - Continuation Sheet

 16.   Added Exhibit 25N
 17.   Exhibits 26C, 26G, 26M, 26N, 26O, 26O(1), 26O(2), and 26O(3), the
       DOJCGH bates number should be 00016727892
 18.   Exhibit 27CC, added DOJCGH_0001549461
 19.   Exhibit 27HH, deleted pages MDFL-0391348-350
 20.   Exhibit 26L, substituted DOJCGH_0000358174-175 (same document)
 21.   Exhibit 28R, substituted DOJCGH_0000968403 (same document)
 22.   Exhibit 30A, substituted DOJCGH_0000019333-334 (same document)
 23.   Exhibit 30B, substituted DOJCGH_0000326652-655 (same document)
 24.   Exhibit 30H, substituted DOJCGH_0000029972-973 (same document)
 25.   Exhibit 30M, substituted DOJCGH_0000358277-279 (same document)
 26.   Exhibit 33, substituted DOJCGH_0000076822 (same document)
 27.   Exhibit 43A, Bates numbers are DOJCGH_0001548391, 0001548402
 28.   Exhibit 43B, Bates numbers are DOJCGH_0001548894, 0001548898
 29.   Exhibit 43C, Bates numbers are DOJCGH_0001549263, 0001549219
 30.   Exhibit 43D, Bates numbers are DOJCGH_001549177, 0001549184
 31.   Exhibit 49C, reference in the description should be Regional General Hospital
       of Williston
 32.   Added Exhibits 49E-F, 50, 51A-C, 52A-D, 53A-B, 54, 55, 56


                                          Respectfully submitted,

                                          ROGER B. HANDBERG
                                          United States Attorney

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 EXHIBIT LIST - Continuation Sheet

                                          ACTING CHIEF
                                          U.S. DEPARTMENT OF JUSTICE
                                          CRIMINAL DIVISION, FRAUD SECTION

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                           CERTIFICATE OF SERVICE

       I hereby certify that, on May 5, 2022, a true and correct copy of the foregoing

 was filed and served on all counsel via the CM/ECF system.


                                                  /s/ Tysen Duva
                                                 TYSEN DUVA
                                                 Assistant United States Attorney
